                             NO. 24-1288

                                 In The
         United States Court of Appeals
                 For The Fo u r t h C i r c u i t



                                 O.W.,
                                                    Plaintiff – Appellant,

                                    v.

       MARIE L. CARR, police officer in her individual and official
     capcities; REID BAKER, assistant principal in his individual and
        official capacities; SCHOOL BOARD OF THE CITY OF
            VIRGINIA BEACH, VIRGINIA, a body corporate;
       CITY OF VIRGINIA BEACH, a body politic and corporate,
                                                  Defendants – Appellees,



   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
   FOR THE EASTERN DISTRICT OF VIRGINIA AT NORFOLK



                OPENING BRIEF OF APPELLANT




Makiba A. Gaines, Esq.
VSB No. 93983
POLARIS LAW FIRM
1403 Greenbrier Parkway Suite 220
Chesapeake, VA 23320
Phone: (757) 905-2079
mg@legalhelp757.com
Counsel for Appellant
            UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                   DISCLOSURE STATEMENT

•    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
     parties, with the following exceptions: (1) the United States is not required to file a disclosure
     statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
     or local government is not required to file a disclosure statement in pro se cases. (All parties
     to the action in the district court are considered parties to a mandamus case.)
•    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
•    In criminal cases, the United States must file a disclosure statement if there was an
     organizational victim of the alleged criminal activity. (See question 7.)
•    Any corporate amicus curiae must file a disclosure statement.
•    Counsel has a continuing duty to update the disclosure statement.


No. 24-1288                Caption: O.W. v. City of Virginia Beach, et al.

Pursuant to FRAP 26.1 and Local Rule 26.1,

o.w.
(name ofparty/amicus)



 who is           appellant           makes the following disclosure:
(appellant/appellee/petitioner/respondent/amicus/intervenor)


1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES0NO


2.      Does party/amicus have any parent corporations?                               DYES 0NO
        If yes, identify all parent corporations, including all generations of parent corporations:




3.      Is 10% or more of the stock of a party/amicus owned by a publicly held cowration or
        other publicly held entity?                                             LJ YES 0 NO
        If yes, identify all such owners:




1210112019 sec                                    - 1-
4.   Is there any other publicly held corporation or other publicly held entity that has a direct
     financial interest in the outcome of the litigation?                          0YES~O
     If yes, identify entity and nature of interest:




5.   Is party a trade association? (amici curiae do not complete this question)    0YES~NO
     If yes, identify any publicly held member whose stock or equity value could be affected
     substantially by the outcome of the proceeding or whose claims the trade association is
     pursuing in a representative capacity, or state that there is no such member:




6.   Does this case arise out of a bankruptcy proceeding?                                0YES~NO
     If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
     party) must list (1) the members of any creditors' committee, (2) each debtor (if not in the
     caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
     corporation that owns 10% or more of the stock of the debtor.




7.   Is this a criminal case in which there was an organizational victim?             0YES~NO
     If yes, the United States, absent good cause shown, must list (1) each organizational
     victim of the criminal activity and (2) if an organizational victim is a corporation, the
     parent corporation and any publicly held corporation that owns 10% or more of the stock
     of victim, to the extent that information can be obtained through due diligence.




Signature:--~-----~--~-
                   · _ _ _ _ _ __                                 Date: - - -04/19/2024
                                                                              ------

Counsel for: 0. W.
             ----------------




                                             -2-              Print to PDF for Filing
                                        TABLE OF CONTENTS
                                                                                                                   Page
TABLE OF AUTHORITIES ................................................................................... iii

JURISDICTIONAL STATEMENT .......................................................................... 1

STATEMENT OF ISSUES PRESENTED FOR REVIEW ...................................... 1

STATEMENT OF THE CASE .................................................................................. 2

    I.       Introduction.................................................................................................2

    II.      Statement of the Facts................................................................................. 3

             a. The Criminal Investigative Practice ...................................................... 3

             b. O.W.’s Criminal Investigation .............................................................. 8

    III.     Procedural History ....................................................................................14

SUMMARY OF THE ARGUMENT ......................................................................15

STANDARD OF REVIEW .....................................................................................17

ARGUMENT ...........................................................................................................18

    1.       THE WARRANTLESS, CONSENTLESS CELLULAR PHONE
             SEARCH VIOLATED O.W.’S RIGHT UNDER THE FOURTH
             AMENDMENT ........................................................................................18

             A. The Special Needs Doctrine does not Apply to the Search
                because the Search was Intended to Yield Criminal Evidence ........... 23

             B. Even under the Special Needs Doctrine, the Search was
                Unreasonable because it was not Justified at its Inception, and
                the Scope of the Search is not Known ................................................29

             C. T.L.O. does not Authorize Warrantless Cellular Phone Searches
                in the Public School Setting ................................................................32

                                                            i
    2.       O.W.’S CONFESSIONS WERE INVOLUNTARY UNDER THE
             FIFTH AMENDMENT’S SELF-INCRIMINATION CLAUSE
             AND THE FOURTEENTH AMENDMENT’S DUE PROCESS
             CLAUSE ...................................................................................................33

    3.       A CIVIL CONSPIRACY UNDER 42 U.S.C. § 1983 REQUIRES
             PROOF OF CONCERTED CONDUCT AND NOT ADDITIONAL
             PROOF OF CONSPIRATORIAL INTENT ............................................37

    4.       THE DISTRICT COURT ERRED IN HOLDING THAT
             APPELLANT FAILED TO ESTABLISH HIS CLAIMS UNDER
             MONELL ..................................................................................................41

    5.       THE DISTRICT COURT ERRED IN DENYING APPELLANT’S
             PARTIAL MOTION FOR SUMMARY JUDGMENT ...........................41

CONCLUSION ........................................................................................................42

REQUEST FOR ORAL ARGUMENT ...................................................................42

CERTIFICATE OF COMPLIANCE .......................................................................44

CERTIFICATE OF SERVICE ................................................................................44




                                                           ii
                                    TABLE OF AUTHORITIES

                                                     Cases
Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242, 106 S. Ct. 2505 (1986) ............................................................... 18
Andes v. Versant Corp.,
  788 F.2d 1033 (4th Cir. 1986) ..................................................................... 41-42
Bd. of Educ. v. Earls,
  536 U.S. 822 (2002) .......................................................................................... 27
Camreta v. Greene,
  131 S. Ct. 2020 (2011) ...................................................................................... 24
Chambers v. Florida,
  309 U.S. 227, 60 S. Ct. 472 (1940) ................................................................... 35
Commonwealth v. Gatewood,
  No. 1420-12-1, 2013 Va. App. LEXIS 27 (Va. Ct. App. Jan. 22, 2013) .... 35-36
Couch v. United States,
  409 U.S. 322, 93 S. Ct. 611 (1973) ................................................................... 35
Direct Sales Co. v. United States,
  319 U.S. 703, 63 S. Ct. 1265 (1943) ................................................................. 40
Ferguson v. City of Charleston,
  532 U.S. 67, 121 S. Ct. 1281 (2001) .......................................................... passim
Florence v. Bd. of Chosen Freeholders,
  566 U.S. 318, 132 S. Ct. 1510 (2012) ............................................................... 31
Greene v. Camreta,
  588 F.3d 1011 (9th Cir. 2009) ........................................................................... 24
Greene. C.B. v. City of Sonora,
  769 F.3d 1005 (9th Cir. 2014) ........................................................................... 24
Griffin v. Wisconsin,
  483 U.S. 868 (1987) .......................................................................................... 27
Hafner v. Brown,
  983 F.2d 570 (4th Cir. 1992) ....................................................................... 38, 39

                                                        iii
Haley v. Ohio,
  332 U.S. 596, 68 S. Ct. 302 (1948) ................................................................... 35
Hinkle v. City of Clarksburg,
  81 F.3d 416 (4th Cir. 1996) ......................................................................... 37, 38
Hutto v. Ross,
  429 U.S. 28, 97 S. Ct. 202 (1976) ..................................................................... 33
J.D. ex rel. Doherty v. Colonial Williamsburg Found.,
   925 F.3d 663 (4th Cir. 2019) ....................................................................... 17, 18
J.D.B. v. North Carolina,
   564 U.S. 261, 131 S. Ct. 2394 (2011) ........................................................... 5, 39
Johnson v. United States,
  228 U.S. 457, 33 S. Ct. 572 (1913) ................................................................... 35
Jones v. Hunt,
  410 F.3d 1221 (10th Cir. 2005) ................................................................... 23-24
Katz v. United States,
  389 U.S. 347 (1967) .......................................................................................... 19
Knibbs v. Momphard,
  30 F.4th 200 (4th Cir. 2022) .............................................................................. 18
Laird v. Fairfax Cnty.,
  978 F.3d 887 (4th Cir. 2020) ............................................................................. 18
Lefkowitz v. Turley,
  414 U.S. 70 (1973) ............................................................................................ 33
Lyons v. Oklahoma,
  322 U.S. 596, 64 S. Ct. 1208 (1944) ................................................................. 34
Maine v. Moulton,
  474 U.S. 159, 106 S. Ct. 477, 88 L. Ed. 2d 481 (1985) .................................... 35
Mann v. Cnty. of San Diego,
  907 F.3d 1154 (9th Cir. 2018) ........................................................................... 24
Massiah v. United States,
  377 U.S. 201, 84 S. Ct. 1199, 12 L. Ed. 2d 246 (1964) .................................... 35


                                                        iv
Miranda v. Arizona,
  384 U.S. 436, 86 S. Ct. 1602 (1966) ............................................................. 5, 23
Monell v. Dep’t of Soc. Servs.,
  436 U.S. 658, 98 S. Ct. 2018 (1978) ............................................................. 2, 41
Nat’l Treasury Employees Union v. Von Raab,
  489 U.S. 656 (1989) .......................................................................................... 27
New Jersey v. T.L.O.,
  469 U.S. 325, 105 S. Ct. 733 (1985) .......................................................... passim
O’Connor v. Ortega,
  480 U.S. 709 (1987) .......................................................................................... 27
Riley v. California,
   573 U.S. 373, 134 S. Ct. 2473 (2014) ................................................... 30, 31, 33
Safford Unified Sch. Dist. #1 v. Redding,
  557 U.S. 364, 129 S. Ct. 2633 (2009) ......................................................... 29, 30
Schneckloth v. Bustamonte,
  412 U.S. 218, 93 S. Ct. 2041 (1973) ........................................................... 36-37
Skinner v. Ry. Labor Executives’ Ass’n,
   489 U.S. 602, 109 S. Ct. 1402 (1989) ............................................................... 32
Terry v. Ohio,
  392 U.S. 1, 88 S. Ct. 1868 (1968) ............................................................... 32, 33
Thompson v. Louisiana,
  469 U.S. 17, 105 S. Ct. 409 (1984) ................................................................... 19
Ullmann v. United States,
  350 U.S. 422, 76 S. Ct. 497 (1956) ................................................................... 34
United States v. Braxton,
  112 F.3d 777 (4th Cir. 1997) ............................................................................. 33
United States v. Burr,
  25 F. Cas. 30 (C.C.D. Va. 1807) ....................................................................... 34
United States v. Curry,
  965 F.3d 313 (4th Cir. 2020) ............................................................................. 28


                                                        v
United States v. Goodson,
  204 F.3d 508 (4th Cir. 2000) ............................................................................. 41
United States v. Martinez-Fuerte,
  428 U.S. 543 (1976) .......................................................................................... 27
Vega v. Tekoh,
  597 U.S. ___ (2022) .......................................................................................... 33
Vernonia Sch. Dist. 47J v. Acton,
  515 U.S. 646, 115 S. Ct. 2386, 132 L. Ed. 2d 564 (1995) .......................... 23, 27
Wofford v. Evans,
  390 F.3d 318 (4th Cir. 2004) ............................................................................. 32

                                                      Statutes

28 U.S.C. § 1291 ...................................................................................................... 1
28 U.S.C. § 1331 ...................................................................................................... 1
42 U.S.C. § 1983 .............................................................................. 2, 17, 37, 38, 39

                                                        Rules

Fed. R. Civ. P. 41 ................................................................................................... 42
Fed. R. Civ. P. 56 ............................................................................................. 18, 41

                                                 Constitutional

U.S. CONST. AMEND. IV .......................................................................................... 18

U.S. CONST. AMEND. V ............................................................................................ 33

                                              Other Authorities

Civil Rights Data Collection (ed.gov) ................................................................... 29

Virginia Department of Education’s Safe Schools Information Report Data
Retrieval tool; Gabriella Souza, Racial Disparities Get Beach Schools Chief’s
Attention, THE VIRGINIAN-PILOT (February 19, 2015) ................................... 29
                                                           vi
                       JURISDICTIONAL STATEMENT

      The district court had jurisdiction pursuant to 28 U.S.C. § 1331 because the

lawsuit was filed to vindicate rights guaranteed to the Plaintiff-Appellant under the

Fourth, Fifth, and Fourteenth Amendments to the United States Constitution. The

district court entered an order granting the Defendant-Appellees’ separately filed

motions for summary judgment and denying the Plaintiff-Appellant’s motion for

partial summary judgment on February 14, 2023. JA1162-1163. The Plaintiff-

Appellant filed a notice of appeal on February 17, 2023. JA1164-1165. This Court

dismissed the appeal as premature on January 3, 2024, finding that “the district court

‘[wa]s not finished with the case.’” On March 5, 2024, the district court ordered that

the previously appealed summary judgment order, “ECF No. 151 is final.” JA1174.

Under 28 U.S.C. § 1291, this Court has appellate jurisdiction over the final judgment

which disposed of all the Plaintiff-Appellant’s claims.

           STATEMENT OF ISSUES PRESENTED FOR REVIEW

   1. Whether, in the absence of an exigency, a warrantless, consentless
      search of a student’s cellular phone, violates the student’s Fourth
      Amendment right against an unreasonable search when the search is
      performed by a school official working cooperatively with police and
      intended to yield criminal evidence?

   2. Whether, under the Fifth Amendment’s Self-Incrimination Clause and
      the Fourteenth Amendment’s Due Process Clause, a thirteen-year-old
      student’s confession was voluntary where the student was required to
      confess orally and in writing to a school official working cooperatively
      with the police?

                                    Page 1 of 44
   3. Whether a civil conspiracy under 42 U.S.C. § 1983 requires proof of
      concerted conduct and additional proof of conspiratorial intent?

   4. Under Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 664, 98 S. Ct. 2018,
      2022 (1978), whether a government body is responsible for its policies,
      practices, and customs of depriving students of rights and colluding to
      investigate students in a manner that avoids direct police action and
      deprives students of criminal procedural safeguards?

   5. Whether the district court erred in denying Appellant’s motion for
      partial summary judgment?

                          STATEMENT OF THE CASE
   I.     Introduction

   This lawsuit challenges the policies, practices, and customs of the Virginia Beach

Police Department (“VBPD”)1 and Virginia Beach City Public Schools (“VBCPS”)2

of collaborating to detain, search, and interrogate students — to coerce their criminal

confessions and gather bullet-proof evidence from them for arrests and prosecutions

while they are on school grounds and unable to access their parents or attorneys for

assistance.

   This long-held joint investigative practice is especially harmful to the classes of

students who are statistically more likely to enter the school system’s disciplinary


    1
       The VBPD is a department of the City of Virginia Beach, Virginia. The City
and Officer Marie Carr shall hereinafter, collectively, be referred to as the “City
Appellees.”
    2
       VBCPS is operated by the School Board of the City of Virginia Beach,
Virginia. Reid Baker and the School Board shall hereinafter, collectively, be referred
to as the “School Appellees.”
                                     Page 2 of 44
channel and to be arrested on school grounds. VBCPS and VBPD have no safeguards

in place to prevent school administrators and police officers from applying the search

program and coercive investigative policy discriminately between students of

different races, abilities, and socio-economic backgrounds.

   II.      Statement of the Facts

   a. The Criminal Investigative Practice

         VBCPS and the VBPD operate under a written SRO partnership agreement

[hereinafter referred to as the “partnership agreement” or the “memorandum of

understanding”] to carry out the police department’s objective of controlling crime

inside VBCPS. JA334-JA340. As written, police officers are “responsible for law

enforcement activities that occur on the school campus,” JA334, but are not

“responsible for enforcement of violations of school rules, regulations or

administrative rules.” JA335. Under the policy, school authorities make police

officers aware of all suspected student criminality at outset of every criminal

investigation. JA336 (MOU, at (iv)(B); JA413 (Dep. Tr. of Marie Carr, at 14:13-17);

JA532 (admission no. 15).

         Despite the presence of a police officer at the beginning of every criminal

investigation, police officers and school authorities engage in what the police

department refers to as “parallel investigations” where school authorities lead in

interrogating and searching students while police officers contemporaneously gather


                                     Page 3 of 44
evidence during the single investigation. JA532 (admission no. 15); JA474-475

(Dep. Tr. of Reid Baker, vol. ii, at 78:24-25, 79:1-3); JA499-JA500 (Dep. Tr. of

Sergeant Luis Cortes)3; JA640 (stating “normally if there was a criminal

investigation, [Carr] will sit in.”); JA913 (Dep. Tr. of Marie Carr, at 15:1-19).

        Q. Tell me about the process of conducting a criminal investigation on
        a student at school. Talk to me about the whole process you take.

        A. Depends on the investigation. What kind of investigation? Are you
        talking specifically the one that we are here for?

        Q. Well, no. Any investigation, is there a specific process that you have
        to take in order to conduct a criminal investigation?

        A. No.· It just depends on the situation. I mean, yes, we are in
        partnership with the school. If they come in -- if they call me and find
        out there is a -- that there might possibly be a criminal investigation,
        they have to alert me. So once they alert me and I come down, I usually
        take notes, because there is sometimes a lot of children involved --
        students involved, so I have to write their names so I know who talked
        to who, who said what to who, so I take notes. And if a crime has
        occurred, then I know a crime has occurred, and then I -- I take over the
        investigation.

JA413 (Dep. Tr. of Marie Carr).

        But Officer Carr did not lead criminal investigations until she first gathered

enough evidence to make an arrest. JA414.

        Q. So are you telling me you don’t have to conduct a criminal
        investigation often? Most times, the school conducts the investigation
        that you need?



    3
        Sargent Cortes was Officer Marie Carr’s direct supervisor. JA464.
                                      Page 4 of 44
      A. The beginning part of it, yes. I mean, I still have to speak to the
      witnesses. I still have to voucher the evidence. So, yes, they do conduct
      a good part of the investigation, yes.

JA414 (Dep. Tr. of Marie Carr).

      Instead of the script read by police officers under Miranda v. Arizona, 384

U.S. 436, 447, 86 S. Ct. 1602, 1614 (1966); see also J. D. B. v. North Carolina, 564

U.S. 261, 297, 131 S. Ct. 2394, 2418 (2011), O.W. was only warned about the

additional punishment he might have faced had he refused to confess to what Mr.

Baker believed he did, JA464 (Dep. Tr. of Reid Baker, at 95:14-20); JA635 (Carr

administered the Miranda warning to O.W. at 6:10 p.m.). According to Mr. Baker,

“part of [VBCPS’] script is like if we’re talking with students and if they’re not

telling us the truth, there’s another violation against the Code of Student Conduct

where it could be like your (sic) not telling us the truth is another violation.” JA882,

JA1262 (Dep. Tr. of Reid Baker).

      Q: “When you say “our script,” are you referring to a school policy for
      administrators about how to interview students?

      A. Yeah. Virginia Beach policy on like how to help kind of just go
      along with our investigation process. Yeah. With Virginia Beach
      schools. Yes.

JA882, JA1262 (Dep. Tr. of Reid Baker).

      But school officials require students to write these confessions about their own

suspected criminal conduct. JA496-JA497, JA1422.



                                     Page 5 of 44
      Q.· Okay. Have you ever -- has one of your officers ever described this
      statement to you?

      A.· Yes. Yes. I know usually when -- what I was just stating, usually
      when something happens at the school and a child is involved, then they
      have to write an incident statement as to what occurred.

      Q.· Okay. That the student has to write?

      A.· That the student has to write in their own words. And I have seen
      one before, because I have seen one where a child wrote one. He wrote
      it out. But not this one in particular.

      Q.· Okay. Do you know who requires the student to make a statement
      on this document?

      A.· I believe it’s the – I’m not a hundred percent sure, but I think the
      principal or whoever is doing the administrative investigation at the
      school has them fill this out.

JA495-496 (Dep. Tr. of Sergeant Luis Cortes).

      Q. Do you know what your officers would have been using this
      statement for?

      A.· In order to figure out if we had probable cause in order to make a
      criminal complaint against the student, you would have to have a basis.
      They have to have probable cause before they will bring a charge
      against a student.

JA497 (Dep. Tr. of Sergeant Luis Cortes).

      The school routinely shares these records with police officers outside the

judicial process for criminal evidentiary purposes.

      Q. Could you tell me the process of one of your -- one of your direct
      reports should have taken if they wanted to get one of these statements
      from the school?


                                    Page 6 of 44
      A.· They would have to speak with the – in my opinion, they would
      have to speak with the principal in order to get a copy of this.

JA496-497, JA985-JA986 (Dep. Tr. of Sergeant Luis Cortes).

      For the last twenty years, throughout at least the thirty-two schools Sergeant

Luis Cortes supervised, school authorities have been responsible for giving police

officers all the criminal evidence they needed to arrest and prosecute students for

criminal conduct occurring on school grounds. JA491, JA499, JA501.

      Q.· So when you say that the principal generally has everything that the
      SRO needs –

      A.· Uh-huh.

      Q.· -- how long has that been the -- been the case?

      ....

      THE WITNESS: I think that is how it’s always been.

JA499-500, JA836-837 (Dep. Tr. of Sergeant Luis Cortes).

      The partnership agreement also established methods for student searches and

seizures, arrests, along with methods of evidence collection. JA335-JA338. The

agreement provided little to no information about how the partnership agreement

advanced any of the school system’s goals related to discipline and order.




                                   Page 7 of 44
   b. O.W.’s Criminal Investigation

       An older female student was said to have voluntarily “sexted” then-thirteen-

year-old O.W. a nude picture 4 of herself on or around December 2018 or January

2019. JA504. Other students started to gossip about the photograph and asked O.W.

whether the female student “really sen[t]” it to him. JA1422. On March 5, 2019,

O.W. was believed to have displayed the photograph to other students at the

lunchroom table and in care class and to have forwarded the photograph to then-

twelve-year-old G.C., a white male student, upon G.C.’s request. JA632.

       A student reported to a teacher that the female student “texted pictures of her

‘parts’ to [O.W.] and he has them on his phone.” JA674. The teacher brought the

information she received to the attention of acting Assistant Principal Reid Baker

(“Mr. Baker” or “Baker”). JA526, JA1244. Mr. Baker first reported the incident to

SRO Marie Carr (“Officer Carr”) and told her that he was “calling down students

regarding possible child pornography,” JA632, JA914 (Dep. Tr. of Marie Carr, at

17:8-11). Mr. Baker alerted Officer Carr despite having four security guards on staff.

JA435 (Dep. Tr. of Marie Carr, at 53:1-20). Mr. Baker testified that he did not know




   4
      The photograph is not on the record. For the purpose of this litigation and
appeal, O.W. will not contest that the photograph is a “nude” image of the female
student. He denies that the photograph constitutes child pornography under Virginia
and/or federal law.
                                     Page 8 of 44
which, if any, school rule O.W.’s conduct might have violated at that time. JA878

(Dep. Tr. of Reid Baker, at 16:4-12).

      Baker detained O.W. and led him to a guidance office to complete the

investigation at around “two something” in the afternoon. JA632; JA1235 (O.W.

Dep. Tr. 45:13-17). When asked for more information about his detention, Mr. Baker

told O.W., “Just come down to me” and “Don’t lie to me.” JA1417. The guidance

office was about 72 square feet and located inside a larger guidance department,

JA527 (Dep. Tr. of Reid baker, at 11:13-19), where a secretary sat, JA952. O.W. sat

on the opposite side of Mr. Baker’s desk, and Officer Carr sat in the seat nearest the

door. JA1261 (Dep. Tr. of Reid Baker, at 42:1-8). On the way to the guidance office,

Baker stopped inside the printing room, briefly questioned O.W. and again warned

him about the consequences of being untruthful in the investigation. JA949-JA950,

JA1232. Mr. Baker then told O.W. to write the first statement about his suspected

criminal conduct. JA1422. Mr. Baker told O.W. that he did not give enough

information in his first statement; Mr. Baker discarded the first statement and told

O.W. to write a better statement. JA518-JA519 (Dep. Tr. of O.W., at 32:20-23);

JA486-JA487. O.W. did not recall the exact contents of his first statement, but he

recalled admitting that he showed other students “the photo.” JA518. But he had not

given any details about the contents of the photograph at that time, and he also had




                                    Page 9 of 44
not confessed regarding the identity of the person who created and sent the

photograph to him. JA675.

      Officer Carr was waiting inside the guidance office for O.W. and Mr. Baker

to arrive; she left the guidance office with Mr. Baker and returned shortly thereafter

asking O.W. for his and his parents’ identifying information. JA519, JA1419 (Dep.

Tr. of O.W., at 42:14-19). Officer Carr testified that she was inside the office with

O.W. and Mr. Baker to investigate suspected criminal conduct rather than to

preserve order or assist with the disciplinary investigation. JA428 (Dep. Tr. of Marie

Carr, at 30:3-11).

      Baker and Carr questioned O.W. together, JA469, JA638, JA952. According

to Mr. Baker, Officer Carr did not actually interrogate O.W., she only asked O.W.

clarifying questions about his suspected criminal conduct. JA638 (City of Virginia

Beach, Admin. Investigation).

      “At first, [O.W.] stated he did not have any photos, and then he stated he

forgot he had the photo.” JA632. “Baker told [O.W.] what he was telling him just

did not make sense.” JA421, JA632 (Dep. Tr. of Reid Baker, at 64:11-21). “Mr.

Baker asked what happened during lunch. [O.W.] stated nothing happened during

lunch.” JA632. Mr. Baker confronted O.W. with some of the evidence he already

had against him. JA632, JA822 (Dep. Tr. of Reid Baker, at 68:12-21), JA904. O.W.

“told Mr. Baker that [G.C.] was one of the students who saw the photo, asked to use


                                    Page 10 of 44
his iPhone to call someone, and then sent the photo to himself without permission.”

JA632. “Mr. Baker asked for his phone, and asked if he still had the inappropriate

photo on the phone. [O.W.] stated he deleted the photo.” JA632. Mr. Baker testified

that he very likely told O.W.:

      So, Sit down, like, Let’s talk about the situation. We were informed that
      you were potentially sharing and showing inappropriate photos. Can
      you tell me what’s going on? Why are we getting these reports from
      other students and teachers in the building? I need you to write a
      statement. I need you to tell me everything of what was going on
      revolving [sic] this. Write a statement. Read the statement. Kind of
      like, So this is what you wrote. Are you telling me the truth. Is this
      where it happened? If I’m doing a follow-up after talking with other
      students, like I’m getting a different version of the story, Are you telling
      me the truth? Like if you’re not telling me the truth, you know,
      there’s a violation against the Student Code of Conduct where if
      you’re not telling me the truth, that can be something else. So I need
      you to be honest with me, please tell me what was going on.

JA902 (Dep. Tr. of Reid Baker) (emphasis added).

      Officer Carr told O.W., “Even if you deleted something, we can still find the

image on your phone.” JA639.

      O.W. ultimately confessed that he possessed the photograph, that it was a nude

image of the female student, and that he forwarded it to the other student upon that

student’s request. JA632.




                                    Page 11 of 44
       Mr. Baker confiscated O.W.’s cellular phone and searched its digital data.5

JA955 (Dep. Tr. of O.W., at 47:10-22). But Mr. Baker did not find the photograph.

JA1263-1264 (Dep. Tr. Reid Baker). Officer Carr directed Mr. Baker to place

O.W.’s phone in airplane mode, to power it down, and to hand it to her. JA633.

Officer Carr “collected [O.W.’s] iPhone as evidence.” JA633, JA634, JA641,

JA1253. Mr. Baker then directed O.W. to write another statement about his

suspected criminal conduct. JA486-0487, JA952, JA1202, JA1229, JA1232,

JA1236. Baker and Officer Carr left the room together while O.W. wrote his second

or third confession. JA952, JA1233.

       Mr. Baker held O.W. after school hours after Officer Carr informed Mr. Baker

that it was not a “paper arrest.” JA438, JA792. After this time, Officer Carr returned

to O.W., while he sat in the guidance office alone, handed his phone back to him and

asked him to show her the photograph. JA918. Officer Carr was in uniform, wearing

a gun, and displaying her badge. JA531 (admission no. 4). O.W. was scared and did

not believe he could say no. JA675, JA955. Then-thirteen-year-old O.W. complied,

and Carr found the photograph inside the phone’s text messages. JA638, JA1203.




   5
      O.W. pled in his Second Amended Complaint that Mr. Baker “searched the
photo gallery of the phone and did not find the photograph.” He did not plead that
Baker only searched the photo gallery. O.W. testified, “And he was like -- he - he
searched my phone because I -- I didn’t have the photo in there at the time.” JA1027.
The full scope of this cellular phone search is not on the record.
                                    Page 12 of 44
Mr. Baker notified O.W.’s mother of the incident around 4:00 p.m., which was the

end of the school day. JA482.

      Officer Carr finally administered the Miranda warning to O.W. at 6:10 p.m.

and arrested him on charges of possession and distribution of child pornography.

JA635. O.W. was not allowed to have his mother, an attorney, or anyone else to aid

him during his in-school interrogation. JA632-JA635.

      Mr. Baker gave one of O.W.’s written confessions to Officer Carr to be used

as criminal evidence against O.W. JA0481, JA533.

      Q. Do you know, how is it that the City came to possess these
      statements?

      A. I want to say Officer Carr asked me for statements. · I -- I think she
      asked me for the statements.

      Q. Did you know why she needed those statements?

      A. I think she was conducting her own investigation and needed, I don’t
      know, needed evidence, needed statements. I’m -- I –

JA481 (Dep. Tr. of Reid Baker), JA1032, JA1038.

      The next day, on March 6, 2019, Baker took statements from at least six

additional students; those statements were delivered to Officer Carr — again outside

the judicial process — for O.W.’s prosecution. JA441, JA533.

      Baker initially recommended O.W. for expulsion from school. JA1440. O.W.

was held in juvenile detention overnight. JA1424. The photograph and the

confessions were all introduced against O.W. in his trial. JA1306-JA1350.
                                   Page 13 of 44
      The record does not contain any evidence to support a finding that O.W.

voluntarily submitted to Mr. Baker’s search.

   III.   Procedural History

      The Plaintiff-Appellant O.W.’s mother originally filed this action pro se in the

United States District Court for the Eastern District of Virginia, in the Richmond

Division, on March 5, 2019. JA5. On April 12, 2021, the School Appellees filed a

motion to dismiss and in the alternative to transfer venue, JA6, and the City

Appellees filed a motion to dismiss the Plaintiff-Appellant’s claims, JA6. The court

transferred venue to the Norfolk Division on August 2, 2021, JA7, but withheld

resolution of the pending motions to dismiss. On December 17, 2021, the district

court in the Norfolk division entered its memorandum order on the Defendant-

Appellees’ motions to dismiss and held that O.W.’s mother, a non-attorney, was not

competent to litigate O.W.’s claims in federal court but granted her leave of court to

amend her pleading. JA7. Having retained counsel, Appellant filed his First

Amended Complaint on January 14, 2022. JA8. Appellees filed motions to dismiss

O.W.’s claims again on February 8, 2022, JA8, to which the Plaintiff-Appellant filed

his responses on February 22, 2022, JA9. The Defendant-Appellees all filed their

answers on March 28, 2022, JA12, JA170-216.

      Following the close of discovery on August 2, 2022, the City Appellees and

School Appellees filed separate motions for summary judgment. JA288, JA291,


                                    Page 14 of 44
JA342, JA346. The district court reassigned the case to Judge Elizabeth W. Hanes

on August 15, 2022. The Plaintiff-Appellant filed a motion for partial summary

judgment on August 17, 2022. JA13. Appellees and Appellant agreed to stay

proceedings to allow the district court time to decide the numerous outstanding

motions and to allow Officer Carr to be heard on her claim of qualified immunity

before proceeding to trial. JA20.

      The district court ruled on all the outstanding motions on February 14, 2023,

wherein it denied O.W.’s motion for partial summary judgment with prejudice and

granted the City and School Appellees’ motions for summary judgment. JA1162-

1163. O.W. appeals.

                       SUMMARY OF THE ARGUMENT

      O.W. has provided extensive evidence that his school authorities worked

jointly in concert with law enforcement to criminally investigate him, to search his

cellular phone, and to coerce his criminal confession, as has been the case for many

students attending public schools in the City of Virginia Beach over the past twenty

years. At a minimum, the evidence in the record is more than enough to establish a

genuine dispute of material fact on most, if not all his claims. The district court erred

by failing to credit O.W.’s evidence as true, by repeatedly drawing inferences in the

Defendant-Appellees’ favor and shifting burdens on the Plaintiff-Appellant while he

opposed the motions for summary judgment.


                                     Page 15 of 44
      Having imposed the heightened burden on O.W., the district court resolved

issues of fact against him including that O.W.’s confessions were voluntary. See

Judgment at 21 n.20 (“While the Court concludes that O.W.’s statements were

voluntary, it does not condone the investigatory techniques practiced by the City and

the School Board.”).

      The Defendant-Appellees violated O.W.’s Fourth Amendment right be free

from unreasonable searches when both Assistant Principal Reid Baker and Officer

Marie Carr searched the digital contents of his cellular phone to gather evidence

intended for use in O.W.’s prosecution.

      The Supreme Court has repeatedly explained the difference between an

administrative search that just so happens to turn up evidence of criminality and one

conducted for that law enforcement purpose. Ferguson v. City of Charleston, 532

U.S. 67, 88, 121 S. Ct. 1281, 1294 (2001) (explaining that, “The traditional warrant

and probable-cause requirements are waived in our previous cases on the explicit

assumption that the evidence obtained in the search is not intended to be used for

law enforcement purposes.”) (Kennedy, J., concurring in the judgment). For this

reason, the district court was wrong when it applied the rule applicable only to

special needs cases to determine the constitutionality of the search that was

conducted for law enforcement purposes.




                                   Page 16 of 44
      The Defendant-Appellees violated O.W.’s rights under the Fifth

Amendment’s Self-Incrimination Clause and Fourteenth Amendment’s Due Process

Clause by interrogating him together in a small office, when he was in custody, and

requiring him to write a criminal confession for use in his prosecution. The district

court erroneously resolved facts in the Defendant-Appellees’ favor by finding

O.W.’s confessions were not coerced.

      The district court added an element of “conspiratorial intent” to the Plaintiff-

Appellant’s prima facie § 1983 conspiracy claim. The record is replete with evidence

that the Defendant-Appellees acted jointly in concert in the acts that deprived O.W.

of his rights, and the district court reached the wrong conclusion on this count when

it held that Plaintiff-Appellant failed to come forward with more proof of an

agreement. The district court also erred when it refused to decide the underlying

constitutional claims.

      Finally, the district court erred when it denied the Appellant’s motion for

partial summary judgment with prejudice.

                           STANDARD OF REVIEW

      On appeal, this Court reviews “de novo the district court’s summary judgment

award.” J.D. ex rel. Doherty v. Colonial Williamsburg Found., 925 F.3d 663, 669

(4th Cir. 2019). The Court will only “grant a movant’s summary judgment motion

when ‘there is no genuine dispute as to any material fact and the movant is entitled


                                   Page 17 of 44
to judgment as a matter of law.’” Fed. R. Civ. P. 56(a); 925 F.3d at 669. In applying

this standard, the Court must view the evidence in the light most favorable to O.W.,

the non-moving party, and draw all reasonable inferences in his favor. See Laird v.

Fairfax Cty., 978 F.3d 887, 892 (4th Cir. 2020). “That means that ‘[the Court] may

not credit [Appellees’] evidence, weigh the evidence, or resolve factual disputes in .

. . [Appellees’] favor.” Knibbs v. Momphard, 30 F.4th 200, 207 (4th Cir. 2022)

(alterations in original). “The evidence of the nonmovant is to be believed, and all

justifiable inferences are to be drawn in his favor.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 255, 106 S. Ct. 2505, 2513 (1986).

                                     ARGUMENT

   1.      THE WARRANTLESS, CONSENTLESS CELLULAR PHONE
           SEARCH VIOLATED O.W.’S RIGHT UNDER THE FOURTH
           AMENDMENT.
        The Fourth Amendment to the United States Constitution proscribes

unreasonable searches and seizures. Fully, it provides that,

        The right of the people to be secure in their persons, houses, papers, and
        effects, against unreasonable searches and seizures, shall not be
        violated, and no Warrants shall issue, but upon probable cause,
        supported by Oath or affirmation, and particularly describing the place
        to be searched, and the persons or things to be seized.
U.S. CONST. AMEND. IV.
        The Supreme Court of the United States has time and again reaffirmed the

rule that “searches conducted outside the judicial process, without prior approval by

judge or magistrate, are per se unreasonable under the Fourth Amendment —
                                      Page 18 of 44
subject only to a few specifically established and well delineated exceptions.”

Thompson v. Louisiana, 469 U.S. 17, 19-20, 105 S. Ct. 409, 410 (1984) (emphasis

in original) (quoting Katz v. United States, 389 U.S. 347, 357 (1967)).

New Jersey v. T.L.O.

        In New Jersey v. T. L. O., 469 U.S. 325, 339, 105 S. Ct. 733, 742 (1985), the

Supreme Court announced the standard for assessing the legality of searches

conducted by public school officials on school grounds. There, a teacher caught

fourteen-year-old T.L.O. and her friend smoking cigarettes in the bathroom and took

the girls to the assistant principal’s office to investigate their violation of the school

rule. Id. at 328, 105 S. Ct. at 735. After detaining T.L.O., the assistant principal

“demanded to see her purse,” opened and searched it. Id. at 328, 105 S. Ct. at 736.

Inside the purse, he found a package of cigarettes, cigarette rolling papers,

marijuana, and other items. Id. The assistant principal notified T.L.O.’s mother along

with the police and later turned the evidence he discovered during the disciplinary

investigation over to the police. Id. T.L.O.’s mother took her to the police station

where she confessed to selling marijuana at school. Id. at 329, 105 S. Ct. at 736.

        Articulating what would later become the “special needs doctrine,” the

Supreme Court held that school order and discipline6 are some of the “exceptional


    6
      Id. at 469 U.S. at 340, 105 S. Ct. at 742 (“[R]equiring a warrant would impede
the ‘swift and informal disciplinary procedures needed in the schools’”); id.
(“[E]vents calling for discipline are frequent occurrences and sometimes require
                                     Page 19 of 44
circumstances in which special needs, beyond the normal need for law enforcement,

make the warrant and probable-cause requirement impracticable.” Going forward,

the Court held, “the legality of a search of a student [for disciplinary purposes]

should depend simply on the reasonableness, under all the circumstances, of the

search.” Id. at 341, 105 S. Ct. 733 at 742.

      However, the Court took special care to limit its holding in T.L.O. to “searches

carried out by school authorities acting alone and on their own authority.” Id. at 341

n.7, 105 S. Ct. at 743 (emphasis added). The Court explained that, “This case does

not present the question of the appropriate standard for assessing the legality of

searches conducted by school officials in conjunction with or at the behest of law

enforcement agencies, and we express no opinion on that question.” Id. (emphasis

added). The district court therefore erred when it applied T.L.O. to test the legality

of the search at issue which was conducted in conjunction with the police for

criminal investigatory purposes.

Ferguson v. City of Charleston

      In Ferguson v. City of Charleston, the Supreme Court held that a government

hospital’s search program was unlawful where hospital staff, in partnership with a

law enforcement agency, tested the discarded urine of suspected drug-addicted


immediate, effective action.”); id. (“Against the child’s interest in privacy must be
set the substantial interest of teachers and administrators in maintaining discipline
in the classroom and on school grounds.”) (emphasis added)).
                                    Page 20 of 44
women and routinely reported and turned over evidence to the police for criminal

arrests and prosecutions. 532 U.S. at 88, 121 S. Ct. at 1294.

      Some features of the search policy and agreement in Ferguson — (1) the

policy instructed hospital staff on how to identify criminal activity, id. at 76, 121 S.

Ct. at 1287; (2) it aided employees in collecting and preserving evidence,

“presumably to make sure that the results could be used in subsequent criminal

proceedings”; (3) it established a policy of routine police intervention; and (4) it

described arrest procedures. Notably, “the policy made no mention of any change in

the prenatal care of such patients, nor did it prescribe any special treatment for the

newborns.” Id. at 73, 121 S. Ct. at 1285.

      Procedurally, in Ferguson, the district court rejected the defense that the

searches had “special non-law enforcement purposes,” id. 532 U.S. at 73, because

the police had far too much involvement in the program, id. at 74. The district court

submitted the factual question of consent to the jury and required a verdict for the

plaintiffs unless the jury found that the plaintiffs consented. Id. The plaintiffs

ultimately lost on all counts and appealed to this Court, assigning error to the district

court’s judgment, in part, on the ground that the district court improperly submitted

the consent issue to the jury. This Court passed on the question because it held that,

even if the plaintiffs did not consent, the search was reasonable under the special

needs doctrine. The Supreme Court ultimately reversed, holding that the search


                                     Page 21 of 44
program was unlawful because it was “designed to obtain evidence of criminal

conduct . . . that would be turned over to police and that could be admissible in

subsequent criminal prosecutions”7 and remanded for further proceedings on the

issue of consent. Ferguson, 532 U.S. at 88, 121 S. Ct. at 1294.

        The Supreme Court concluded that the urine-screen searches may have been

conducted for the ultimate purpose of encouraging drug-addicted pregnant women

into substance abuse treatment, and thereby achieving the hospital’s albeit noble

objective of ensuring the health and safety of expectant mothers, fetuses, and infants.

The policy and tests were unlawful because “the immediate objective of the searches

was to generate evidence for law enforcement purposes in order to reach that goal.”

Id. at 69, 121 S. Ct. at 1284. “Given that purpose and given the extensive

involvement of law enforcement officials at every stage of the policy, [the] case




    7
       See also id. (explaining that, “None of our special needs precedents has
sanctioned the routine inclusion of law enforcement, both in the design of the policy
and in using arrests, either threatened or real, to implement the system designed for
the special needs objectives.”) (Kennedy, J. concurring); id. at 83 n. 20, 121 S. Ct.
at 1291 (“In none of our previous special needs cases have we upheld the collection
of evidence for criminal law enforcement purposes. Our essential point is the same
as JUSTICE KENNEDY’s -- the extensive entanglement of law enforcement cannot
be justified by reference to legitimate needs”) (capitalization in original)); id. at 88,
121 S. Ct. at 1294 (explaining that, “The traditional warrant and probable-cause
requirements are waived in our previous cases on the explicit assumption that the
evidence obtained in the search is not intended to be used for law enforcement
purposes.” (Kennedy, J., concurring)).
                                     Page 22 of 44
simply [did] not fit within the closely guarded category of ‘special needs.’” Id.

(emphasis added).

       Distinguishing T.L.O. and its progeny, the Supreme Court explained in

Ferguson, that while government actors “may have a duty to provide the police with

evidence of criminal conduct that they inadvertently acquire in [scope of their

employment], when they undertake to obtain such evidence from [persons] for the

specific purpose of incriminating [them], they have a special obligation to make sure

that the [subjects] are fully informed about their constitutional rights, as standards

of knowing waiver require.” Id. at 69, 121 S. Ct. at 1284 (analogizing Miranda, 384

U.S. 436, 447, 86 S. Ct. 1602)).

          A. The Special Needs Doctrine does not Apply to the Search because
             the Search was Intended to Yield Criminal Evidence.

       T.L.O. was premised on “the substantial interest of teachers and administrators

in maintaining discipline in the classroom and on school grounds.” 469 U.S. at

339; see also Vernonia Sch. Dist. 47J v. Acton, 515 U.S. 646, 653, 115 S. Ct. 2386,

132 L. Ed. 2d 564 (1995). 8 For this reason, courts have been reluctant to extend

T.L.O. to cases involving government conduct unrelated to that interest even where

the conduct occurs on school grounds. For example, the Tenth Circuit held in Jones


   8
     See also T. L. O., 469 U.S. at 339-40, 105 S. Ct. at 742 (“Accordingly, we have
recognized that maintaining security and order in the schools requires a certain
degree of flexibility in school disciplinary procedures, and we have respected the
value of preserving the informality of the student-teacher relationship.”).
                                    Page 23 of 44
v. Hunt, 410 F.3d 1221, 1228 (10th Cir. 2005), that a seizure by a deputy sheriff and

social worker on school grounds did “not merit application of the T.L.O. standard”

because it did “not implicate the policy concerns addressed in T.L.O.” Id. That court,

however, declined to explain which Fourth Amendment standard should apply to the

case of a joint criminal investigation on school grounds.

      And in Greene v. Camreta, the Ninth Circuit held that the “‘special needs’

doctrine   did not apply       to   seizures   on school grounds in which        ‘law

enforcement personnel and purposes were . . . deeply involved.’” 588 F.3d 1011,

1026-27 (9th Cir. 2009), vacated as moot sub nom. (citing Ferguson, 532 U.S. at 79

n.15). Such is the case here. The Supreme Court granted certiorari on this issue but

did not reach the merits due to mootness. See Camreta v. Greene, 131 S. Ct. 2020,

2026-27 (2011). Nonetheless, the Supreme Court did not express disapproval of the

Ninth Circuit’s reasoning in Greene. C. B. v. City of Sonora, 769 F.3d 1005, 1023

n.14 (9th Cir. 2014). The Ninth Circuit later held that the same rule should apply to

“dual-purpose investigations” and “purely investigatory examinations” “where one

of the purposes is investigatory.” Mann v. Cty. of San Diego, 907 F.3d 1154, 1162

(9th Cir. 2018), cert denied. Thus, the Court would be well-reasoned in holding that

the search was unreasonable even if it were found to have served dual criminal and

disciplinary purposes.




                                    Page 24 of 44
      The district court distinguished Ferguson because it took place in a

government hospital, whereas T.L.O. and the case before the Court today occurred

on school grounds. However, the problem with T.L.O. is that it did not involve a

criminal investigation at all. T.L.O.’s assistant principal notified T.L.O.’s mother of

the incident contemporaneously with notifying the police; this not only evinced his

intent to afford T.L.O.’s mother due process but it also placed T.L.O. in the position

to make intelligent decisions about her rights as soon as the disciplinary investigation

ripened into a criminal investigation. There is no reason to believe the assistant

principal searched T.L.O. “for the specific purpose of incriminating her.” Mr. Baker

and Officer Carr intended a criminal investigation from the start; that is why Baker

notified Officer Carr first and did not notify O.W.’s mother until the investigation

was over. Further, T.L.O. does not involve an agreement between the police and a

third-party government agency to investigate criminal suspects and to share

information, as is the case here and was the case in Ferguson.

      The features of the search policy here undeniably resemble those from

Ferguson— here, (1) VBCPS school authorities are required to notify their police

partners of all suspected student criminality, which necessarily implies their

familiarity with and understanding of criminal laws, see T. L. O., 469 U.S. at 350

n.1, 105 S. Ct. at 747 (stating that, “Unlike police officers, school authorities have

no law enforcement responsibility or indeed any obligation to be familiar with the


                                     Page 25 of 44
criminal laws.”); (2) it uses routine police intervention in a special needs setting; and

(3) it outlined arrest procedures, among other features. JA334-341 (MOU); see

Ferguson, at 76, 121 S. Ct. at 1287. Like the curious feature of the policy in

Ferguson, which “made no mention of any change in the prenatal care of such

patients, nor did it prescribe any special treatment for the newborns,” the policy here

says little to nothing about how the policy improves school discipline and order

outside routine crime control. See generally, MOU, at JA334-341. Given the

“extensive involvement of law enforcement officials at every stage of the policy,”

the Court should find that “this case simply does not fit within the closely guarded

category of ‘special needs,’” id. at 69, 121 S. Ct. at 1284. As true in Ferguson, a jury

could infer that the VBPCS policy of jointly investigating students in the disciplinary

setting was “designed to obtain evidence of criminal conduct . . . that would be

turned over to police and that could be admissible in subsequent criminal

prosecutions.”

      The evidence suggests strongly that Mr. Baker searched O.W. “for the specific

purpose of incriminating [him].” After all, Mr. Baker did bypass four security guards

on school campus to instead alert Officer Carr, a sworn police officer, of what he

described to her as possible “child pornography.” In accordance with the policy, Mr.

Baker alerted Officer Carr before he even detained O.W. ― at a time when he




                                     Page 26 of 44
admittedly did not know which, if any, school disciplinary infraction O.W.’s conduct

might have violated. JA878 (Dep. Tr. of Reid Baker, at 16:4-12).

        If permanently dispossessing O.W. of the phone were not enough to control

his behavior or to bring order to the school environment, it is hard to imagine how

searching the photo gallery of the phone promised to help. Indeed, a photograph

described as “child pornography” cannot be admitted into evidence in any school

disciplinary hearing. It cannot reasonably be disputed that T.L.O.’s assistant

principal had a responsibility to turn over any evidence he inadvertently found

during a disciplinary investigation; but a jury could conclude that Baker searched

O.W.’s phone for no purpose other than to gather evidence from O.W. for his

prosecution.

    According to the district court, Ferguson is inapposite because it involved “the

permissibility of suspicionless searches,” JA1144. However, the Court has always

required a balancing test where the degree of intrusion is weighed against the

government interest to find the level of suspicion required for the search. 9 A cellular


    9
      The Court has performed the same analysis for special needs cases across a
myriad of contexts. See Bd. of Educ. v. Earls, 536 U.S. 822 (2002) (suspicionless
drug testing); Vernonia Sch. Dist. v. Acton, 515 U.S. 646 (1995) (suspicionless drug
testing for high school athletes); Nat’l Treasury Employees Union v. Von Raab, 489
U.S. 656 (1989) (suspicionless drug testing of Customs Service positions); Griffin
v. Wisconsin, 483 U.S. 868 (1987) (probationer home searches upon reasonable
grounds); O’Connor v. Ortega, 480 U.S. 709 (1987) (workplace searches of public
employees); United States v. Martinez-Fuerte, 428 U.S. 543 (1976) (traffic stops at
border checkpoints).
                                     Page 27 of 44
phone search requires substantially more justification than a search of a person’s

other personal effects, specifically, it requires more justification than that required

to search the discarded urine that was the subject of Ferguson. Also, in Ferguson,

the panel of this Court and the Supreme Court merely assumed, without deciding,

the tests were suspicionless.10

         The search cannot be sustained under T.L.O. because, while it occurred on

school grounds, it was conducted with police under a long-standing programmatic

search policy, which was – at least in part – designed by police to gather evidence

of student criminality in a manner that avoids all the burdens of direct police action.

         What is missing from the record is any evidence about any safeguard VBCPS

has in place to prevent police officers from redisclosing student records or from

applying the search program discriminately between students of different races,

abilities, and socio-economic backgrounds. United States v. Curry, 965 F.3d 313,

320 n.4 (4th Cir. 2020) (“Moreover, special needs cases all involve a critical feature

not present here: programmatic safeguards designed to protect against a law

enforcement officer's arbitrary use of unfettered discretion.”).


    10
        “In a footnote to their brief, respondents do argue that the searches were not
entirely suspicionless. They do not, however, point to any evidence in the record
indicating that any of the nine search criteria was more apt to be caused by cocaine
use than by some other factor, such as malnutrition, illness, or indigency. More
significantly, their legal argument and the reasoning of the majority panel opinion
rest on the premise that the policy would be valid even if the tests were conducted
randomly.” Ferguson, 532 U.S. at 77 n.10, 121 S. Ct. at 1288.
                                    Page 28 of 44
         It is no secret that VBCPS disciplines black male students, such as the

Plaintiff-Appellant, more harshly and refers them to law enforcement more

frequently, 11 and it is a matter of common sense that these students would be subject

to the joint investigative policy more often. But this is not to suggest the joint

interrogation and search policy is not harming children of all races, abilities, and

genders.

           B. Even under the Special Needs Doctrine, the Search was
              Unreasonable because it was not Justified at its Inception, and the
              Scope of the Search is not Known.

   In T.L.O., the Court “applied a standard of reasonable suspicion to determine the

legality of a school administrator’s search of a student” and “held that a school

search ‘will be permissible in its scope when the measures adopted are reasonably

related to the objectives of the search and not excessively intrusive in light of the

age and sex of the student and the nature of the infraction,’” Safford Unified Sch.

Dist. #1 v. Redding, 557 U.S. 364, 370, 129 S. Ct. 2633, 2639 (2009) (citing T.L.O.,

at 345, 105 S. Ct. at 733).

   Under T.L.O., in assessing a school disciplinary search, the Court should weigh

the invasiveness of the search, the age and gender of the student, and the nature of


    11
      See Civil Rights Data Collection (ed.gov); see Virginia Department of
Education’s Safe Schools Information Report Data Retrieval tool; Gabriella Souza,
Racial Disparities Get Beach Schools Chief’s Attention, THE VIRGINIAN-PILOT
(February 19, 2015), available at https://www.pilotonline.com/news/education/artic
le_984bf825-eb58-5c0da46a-eaadc7bed25d.html.
                                    Page 29 of 44
the harm in determining whether a search was reasonable. T.L.O., at 345, 105 S. Ct.

at 733). In Safford, the Supreme Court held that the strip search of a student for drugs

was unreasonable even though it was conducted to mitigate a potentially imminent

risk to students’ health and safety. There, a student was believed to have been in

possession of prescription-strength ibuprofen and over-the-counter naproxen, which

the Court acknowledged could have caused “real harm” to students if taken in large

doses. Id. at 375, 129 S. Ct. at 2642. However, school officials had “no reason to

suspect” there was a threat of harm to students because it had no information that

the student had been distributing large doses to students. Safford, at 376, 129 S. Ct.

at 2642 (explaining that the school official must have been aware of both the “nature

[of the offense] and limited threat” to students). For this reason, “the content of the

suspicion failed to match the degree of intrusion.” Id. The Court held that “both

subjective and reasonable societal expectations of personal privacy support the

treatment of such a search as categorically distinct, requiring distinct elements of

justification on the part of school authorities for going beyond a search of outer

clothing and belongings.” Id. at 374, 129 S. Ct. at 2641.

   Under Safford, a cellular phone search requires a more compelling justification

than that required to search a student’s other personal effects, id.; see also Riley v.

California, 573 U.S. 373, 394-95, 134 S. Ct. 2473, 2489 (2014). In fact, even in the

context of a criminal arrest, society has come to expect more privacy in their digital


                                     Page 30 of 44
data than in a strip search of their person. Compare Florence v. Bd. of Chosen

Freeholders, 566 U.S. 318, 326, 132 S. Ct. 1510, 1515 (2012) (finding it reasonable

to strip search an arrestee entering a correctional facility), with Riley v. California,

at 394-95, 134 S. Ct. at 2489 (finding it unreasonable to search an arrestee’s cellular

phone data). Safford illustrates that the standards of reasonableness for a highly

invasive search differs from the standards for a less invasive search, and that the

level of suspicion and the threat of harm need to be higher to justify a highly invasive

search.

   The district court said that, “Mr. Baker limited the search to the photo gallery and

did not otherwise search the phone.” JA1145. The allegation that Mr. Baker

searched the photo gallery of O.W.’s phone does not, in itself, support the inference

that Baker only searched the photo gallery. The record does contain any admissible

evidence regarding the scope of the search, and Baker never explained his objectives

or his distinct elements of justification for searching O.W.’s phone. JA1263-1264.

Nonetheless, the search occurred at the end of the school day or after school hours,

after Baker had already permanently dispossessed O.W. of the phone. The

uncontradicted evidence shows that Baker placed the phone in airplane mode and

powered it down such that any evidence inside the photo gallery could not have been

tampered with or remotely wiped. Riley, at 390, 134 S. Ct. at 2487 (“In any event,

as to remote wiping, law enforcement is not without specific means to address the


                                     Page 31 of 44
threat. Remote wiping can be fully prevented by disconnecting a phone from the

network.”).

      It would also be reasonable for a jury to infer pretext where, for the last twenty

years, school authorities have given police officers all the criminal evidence they

needed to arrest and prosecute students. See, Skinner v. Ry. Labor Executives’ Ass’n,

489 U.S. 602, 109 S. Ct. 1402 (1989).

   The Court should reverse or vacate the summary judgment award on this issue

because, in part, Baker’s objective for the search and the scope of the search are still

unknown. Material facts are therefore still in dispute. It is hard to imagine any

circumstance where a school administrator’s search for suspected child pornography

would not be “excessively intrusive in light of the age and sex of the student,”

because the search itself would only heighten any alleged exploitation. Other than

routine crime control, Baker has not and cannot show any justification for the search.

          C. T.L.O. does not Authorize Warrantless Cellular Phone Searches in
             the Public School Setting.

      Citing Terry v. Ohio, 392 U.S. 1, 30, 88 S. Ct. 1868, 1884 (1968), this Court

explained that “the constitutional standards governing police action in such

circumstances match exactly those that regulate searches and seizures of students.”

Wofford v. Evans, 390 F.3d 318, 327 (4th Cir. 2004). It is of course well settled that

a Terry search “in the absence of probable cause to arrest . . . must, like any other

search, be strictly circumscribed by the exigencies which justify its initiation.”
                                     Page 32 of 44
Terry, 392 U.S. at 26. Terry does not justify cellular phone searches under Riley v.

California, 573 U.S. 373, 394-95, 134 S. Ct. 2473, 2489 (2014), and this Court

should hold that T.L.O. does not justify cellular phone searches of a students on

school grounds on mere reasonable suspicion.

   2.    O.W.’S CONFESSIONS WERE INVOLUNTARY UNDER THE
         FIFTH AMENDMENT’S SELF-INCRIMINATION CLAUSE AND
         THE FOURTEENTH AMENDMENT’S DUE PROCESS CLAUSE.

   “The Fifth Amendment, made applicable to the States by the Fourteenth

Amendment provides that ‘[n]o person . . . shall be compelled in any criminal case

to be a witness against himself.’” U.S. CONST. AMEND. V; Vega v. Tekoh, 597 U.S.

___ (2022) (quoting Lefkowitz v. Turley, 414 U.S. 70, 77 (1973)). “This Clause

‘privileges [a person] not to answer official questions put to him in any other

proceeding, civil or criminal, formal or informal, where the answers might

incriminate him in future criminal proceedings.’” Id.

   “The test for determining whether a statement is voluntary under the Due Process

Clause ‘is whether the confession was extracted by any sort of threats or violence,

[or] obtained by any direct or implied promises, however slight, [or] by the exertion

of any improper influence.’” United States v. Braxton, 112 F.3d 777, 780 (4th Cir.

1997) (quoting Hutto v. Ross, 429 U.S. 28, 30, 97 S. Ct. 202 (1976) (alterations in

original) (some internal quotation marks omitted)).




                                   Page 33 of 44
   According to the district court, “O.W. admitted that he had shown the photograph

to other students before any alleged coercion began.” JA1149. O.W. respectfully

disagrees. He was thirteen years old and already inside a 72 sq. ft. room with an

armed, uniformed police officer sitting nearest the door and one of his school’s

ultimate authorities across the desk from him; he already did not have his mother or

an attorney present; and he already had been warned that he might be disciplined if

he did not just confess.

   Nonetheless, evidence which is compelled by a government actor violates the

Fifth Amendment in any setting, permitting the elicitation provokes a person “to

give an answer which discloses a fact that would form a necessary and essential part

of a crime which is punishable by the laws.” United States v. Burr, 25 F. Cas. 38,

40; Ullmann v. United States, 350 U.S. 422, 438-39, 76 S. Ct. 497, 507 (1956) (“also

that its sole concern is, as its name indicates, with the danger to a witness forced to

give testimony leading to the infliction of ‘penalties affixed to the criminal acts’”).

Thus, assuming O.W.’s first admission to having shown the photograph was

voluntary, that would not indicate whether his later confessions were also. Cf. Lyons

v. Oklahoma, 322 U.S. 596, 598, 64 S. Ct. 1208, 1210 (1944). He was entitled to

withhold information regarding each and every element of the offenses with which

he was ultimately charged.




                                    Page 34 of 44
   Under Tekoh, the fact that Officer Carr failed to Mirandize O.W. before

questioning him in the custodial setting is not independently violative of the right

against compelled self-incrimination but is one fact supporting the involuntariness

of his statements.

      A reasonable jury would conclude that Mr. Baker and Officer Carr, together,

coerced O.W.’s oral and written confessions. See Couch v. United States, 409 U.S.

322, 329, 93 S. Ct. 611, 616 (1973); Johnson v. United States, 228 U.S. 457, 459, 33

S. Ct. 572 (1913). This kind of pressure applied to a thirteen-year-old child who did

not have the benefit of a parent or his attorney present is so reasonably calculated to

inspire fear that the resultant confession should be regarded as compulsory. E.g.,

Haley v. Ohio, 332 U.S. 596, 600, 68 S. Ct. 302, 304 (1948); Chambers v. Florida,

309 U.S. 227, 230, 60 S. Ct. 472, 474 (1940).

      Further, in this context, the Supreme Court has repeatedly rejected criminal

interrogations conducted through third party friendly faces. See, e.g., Massiah v.

United States, 377 U.S. 201, 206, 84 S. Ct. 1199, 12 L. Ed. 2d 246 (1964) (holding

post-indictment confession violative of the Sixth Amendment where elicited by

police informant); Maine v. Moulton, 474 U.S. 159, 176, 106 S. Ct. 477, 88 L. Ed.

2d 481 (1985); see also Commonwealth v. Gatewood, No. 1420-12-1, 2013 Va. App.

LEXIS 27, at *16-17 (Ct. App. n. 22, 2013) (unpublished) (for treatment in Virginia




                                    Page 35 of 44
courts) (holding confessions obtained in violation of Fifth and Sixth Amendments

where elicited by a social services employee for criminal investigative purposes).

      The district expressed some concern with the VBCPS/VBPD’s joint

investigative practice, but it nonetheless concluded that O.W.’s confessions were

voluntary. JA1149, at n.20 (“While the Court concludes that O.W.’s statements were

voluntary, it does not condone the investigatory techniques practiced by the City and

the School Board.”). In so doing, the district court resolved this fact against O.W. to

resolve a motion for summary judgment against him.

      At a minimum, the record establishes genuine disputes of material fact

regarding whether O.W was compelled to admit facts regarding the (1) identity of

the person depicted in the photograph, (2) the contents of the photograph, and (3)

identity of the person who texted the photograph to G.C.

      The district court further stated that,

      The questioning was conducted by a school official in a familiar
      setting—the school guidance office—and the entire incident occurred
      over the course of an afternoon.” Although certain facts—O.W.’s age,
      that he was alone, Officer Carr’s presence, and Mr. Baker’s admonition
      about violating the Student Code of Conduct— may have influenced
      O.W., they are not enough, without more, to suggest O.W.’s will was
      overborne.

JA1148-1149, Memorandum Opinion. On a motion for summary judgment, the

question for the court was not whether it believed O.W.’s confessions were coerced

because such is a question of fact. Schneckloth v. Bustamonte, 412 U.S. 218, 227, 93


                                     Page 36 of 44
S. Ct. 2041, 2048 (1973) (noting that the question of whether waiver was

“in fact ’voluntary’ or was the product of duress or coercion, express or implied, is

a question of fact to be determined from the totality of all the circumstances.”). The

questions for the court to decide were whether the material, undisputed facts were

so one sided that they constitute coercion as a matter of law or whether O.W. failed

to present any evidence of coercion such that summary judgment should have been

granted to the Defendant-Appellees. The district court erred when it weighed the

evidence against O.W. and awarded summary judgment to the Defendant-Appellees.

   3.     A CIVIL CONSPIRACY UNDER 42 U.S.C. § 1983 REQUIRES
          PROOF OF CONCERTED CONDUCT AND NOT ADDITIONAL
          PROOF OF CONSPIRATORIAL INTENT.

        “To establish a civil conspiracy under § 1983, Appellants must present

evidence that the Appellees acted jointly in concert and that some overt act was done

in furtherance of the conspiracy which resulted in Appellants’ deprivation of a

constitutional right.” Hinkle v. City of Clarksburg, 81 F.3d 416, 421 (4th Cir. 1996).

Stated another way, a litigant makes a prima facie showing of a civil conspiracy by

establishing that (1) the defendants agreed and coordinated to engage in an act, (2)

at least one of the co-conspirators took an overt step in furtherance of the agreement,

and (3) the act “resulted in Appellants’ deprivation of a constitutional right,” id.

O.W.’s goal in opposing motions for summary judgment was to produce evidence

that would have “reasonably [led] to the inference that Appellees positively or tacitly


                                    Page 37 of 44
came to a mutual understanding to try to accomplish a common and unlawful plan.”

Id.

      The district court erroneously treated conspiratorial intent as an additional

element of a prima facie § 1983 claim. Citing Hinkle, the district court said that,

“While O.W. is not required to come forward with direct evidence, he has a ‘weighty

burden’ and must show “specific circumstantial direct evidence that each member

of the alleged conspiracy shared the same conspiratorial objective.”” JA1150-1151

(quoting Hinkle, 81 F.3d at 421). But Hinkle is a circumstantial evidence case where

the plaintiffs had no direct evidence that the government defendants acted in concert

to deny them access to the court. It was only because of their failure to “come

forward with direct evidence” that they were required to show other evidence of

conspiratorial intent.

      Appellants did not produce any evidence, either direct or
      circumstantial, that Appellees acted in concert to obstruct Appellants’
      access to the courts. Appellants’ evidence did not disclose any
      communication between Officer Walker, Officer Lake, Dr. Saoud, Dr.
      Frost or others that might give rise to an inference of an agreement to
      commit any acts, wrongful, or otherwise. Nor does Appellants’
      evidence give rise to an inference that each alleged conspirator shared
      the same conspiratorial objective.

Hinkle, 81 F.3d at 421-22 (emphasis added).

      O.W. was not required to show circumstantial evidence of “conspiratorial

intent” because the record is teeming with direct evidence of concerted conduct. For

example, in Hafner v. Brown, 983 F.2d 570, 577 (4th Cir. 1992), this Court held that
                                   Page 38 of 44
a plaintiff established his § 1983 conspiracy claim with testimonial evidence that a

defendant sat on the plaintiff’s legs while other officers inflicted excessive force.

There, on direct examination, the officer “acknowledged that he sat on [plaintiff’s]

legs to bring him under control.” Id. For this reason, this Court concluded that “a

factfinder could reasonably conclude that [defendant] acted in concerted activity

with [the police officers],” and the plaintiff was not required to show additional

circumstantial evidence of conspiratorial intent.

        In keeping with VBCPS and VBPD policies and practices, Officer Carr and

Mr. Baker agreed, positively or tacitly as a matter of custom and routine, that they

were going to detain then-thirteen-year-old O.W. to investigate him for a criminal

offense. Officer Carr and Mr. Baker knew from the outset of the investigation that

the fruit from any search would be used for O.W.’s arrest and prosecution, and yet

they were going to search his cellular phone on reasonable suspicion rather than on

consent or a search warrant. They were going to elicit incriminating responses from

O.W., in a custodial setting,12 but they were not going to afford him his rights under

Miranda or even advise him of his rights to aid him in making a knowing waiver.

They were going to compel O.W. to make oral and written confessions regarding his

own suspected criminal conduct and use those statements against him in a later



   12
       O.W.’s age informed the custody analysis under J. D. B., 564 U.S. at 297,
131 S. Ct. at 2418.
                                    Page 39 of 44
prosecution. “[A] factfinder could reasonably conclude that [VBCPS and Baker]

acted in concerted activity with [the police officers].”

      Baker and Carr ultimately wanted confessions and the photograph to use

against O.W. in court, and co-conspirators are liable for unlawful acts performed by

the other within the scope of the agreement. There can be no good reason why a

school official would lead a criminal investigation when a uniformed officer is

present other than to help police take advantage of the reasonable suspicion standard

on school grounds and the custodial setting. But “that is how it’s always been.”

JA499-500, JA836-0837.

      If at all necessary, the record establishes that this joint criminal investigative

practice has been in place for at least nineteen years. It would be more than

reasonable for a jury to infer that a “long course of conduct” — nineteen years of

joint- VBPD/VBCPS investigations leading to arrests and prosecutions — “executed

in the same way” is proof of a tacit understanding. Direct Sales Co. v. United States,

319 U.S. 703, 714, 63 S. Ct. 1265, 1270 (1943).

      The evidence undoubtedly establishes the Defendant-Appellees were acting

pursuant to their common plan. The district court therefore erred when it refused to

consider the constitutional claims underlying the conspiracy claim.




                                    Page 40 of 44
   4.      THE DISTRICT COURT ERRED IN HOLDING THAT
           APPELLANT FAILED TO ESTABLISH HIS CLAIMS UNDER
           MONELL.

        The district court refused to consider O.W.’s Monell v. Dep’t of Soc. Servs.,

436 U.S. 658, 664, 98 S. Ct. 2018, 2022 (1978), claims against the City of Virginia

Beach and the School Board of the City of Virginia Beach because it held that O.W.

failed to show evidence of a requisite constitutional violation. For all the foregoing

reasons, the record is sufficient to allow a reasonable jury to infer the Defendant-

Appellees violated O.W.’s constitutional rights. With reasonable inferences afforded

to O.W., as required on a motion for summary judgment against him, the jury would

likely infer that the Defendant-Appellees are engaged in a practice that flows from

the top downward, or, considering O.W.’s proof of the long-standing nature of the

policies and customs, unlawful acts that are so persistent and widespread that they

constitute standard operating procedures.

   5.      THE DISTRICT COURT ERRED IN DENYING APPELLANT’S
           PARTIAL MOTION FOR SUMMARY JUDGMENT.

        The district court denied O.W.’s motion for partial summary judgment “with

prejudice.” See United States v. Goodson, 204 F.3d 508 (4th Cir. 2000) (discussing

the prejudice ruling in the criminal context). The authority of the district court to

grant or deny a motion for summary judgment is expressed in Fed. R. Civ. P. 56.

Rule 56 does not provide for a denial “prejudice.” See Andes v. Versant Corp., 788

F.2d 1033, 1037 (4th Cir. 1986) (stating that an order dismissing a plaintiff’s claim
                                    Page 41 of 44
under Fed. R. Civ. P. 41(b) would constitute an abuse of discretion where not

authorized by the rule). The district court therefore erred in denying the Plaintiff-

Appellant’s motion for partial summary judgment with prejudice. The Court should

reverse or vacate the judgment and remand with instructions to grant summary

judgment in favor of O.W., as may be appropriate.

                                  CONCLUSION

      For the reasons set forth above, O.W. respectfully asks this Court to reverse,

or at minimum vacate, the Order granting summary judgment to the Defendant-

Appellees and the Order denying partial summary judgment to O.W. dated February

14, 2023 (ECF No. 150, 151), as finalized by the district court on March 5, 2024

(ECF No. 162, 163) and to grant O.W. all other relief the Court deems just and

appropriate including to remand the case to the district court with instructions to

enter judgment in favor of O.W.

                     REQUEST FOR ORAL ARGUMENT

      O.W. respectfully requests that this Court hear oral argument in this case.

This appeal raises serious Constitutional issues regarding the Fourth, Fifth, and

Fourteenth Amendments to the United States Constitution.




                                    Page 42 of 44
      Respectfully Submitted,

      O.W.,

By:   /s/ Makiba Gaines
      Makiba Gaines, Esq.
      Virginia State Bar No. 93983
      POLARIS LAW FIRM, P.L.L.C.
      1403 Greenbrier Parkway, Suite 220
      Chesapeake, VA 23320
      Phone: (757) 905-2079
      Facsimile: (757) 866-5744
      mg@legalhep757.com
      Counsel for Appellant




         Page 43 of 44
                      CERTIFICATE OF COMPLIANCE

      In accordance with Rules 32(a)(7)(B) and (C) of the Federal Rules of

Appellate Procedure, the undersigned counsel for appellant certifies that the

accompanying brief is printed in 14 point typeface, with serifs, and, including

footnotes, contains no more than 14,000 words. According to the word-processing

system used to prepare the brief, Microsoft Word, it contains 10,339 words.

                                 By:    /s/ Makiba Gaines
                                        Makiba Gaines, Esq.



                         CERTIFICATE OF SERVICE

      I hereby certify that on June 13, 2024, I electronically filed the foregoing brief

with the Clerk of the Court using the CM/ECF System which will send notice of

such filing to the following registered CM/ECF users:



                                 By:    /s/ Makiba Gaines
                                        Makiba Gaines, Esq.




                                    Page 44 of 44
